                                Case 6:19-bk-08281-KJ                  Doc 1          Filed 12/19/19          Page 1 of 10

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Move4All, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  535 Cypress Tree Ct.
                                  Orlando, FL 32825
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.moveyoutoday.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                  Case 6:19-bk-08281-KJ                    Doc 1         Filed 12/19/19              Page 2 of 10
Debtor    Move4All, Inc.                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4842

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 6:19-bk-08281-KJ                     Doc 1         Filed 12/19/19            Page 3 of 10
Debtor   Move4All, Inc.                                                                             Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                Case 6:19-bk-08281-KJ                   Doc 1         Filed 12/19/19             Page 4 of 10
Debtor    Move4All, Inc.                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 19, 2019
                                                  MM / DD / YYYY


                             X   /s/ Curtis D. Hersey                                                     Curtis D. Hersey
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Aldo G. Bartolone                                                     Date December 19, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Aldo G. Bartolone 173134
                                 Printed name

                                 Bartolone Law, PLLC
                                 Firm name

                                 1030 N. Orange Avenue
                                 Suite 300
                                 Orlando, FL 32801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (407) 294-4440                Email address      aldo@bartolonelaw.com

                                 173134 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:
 Debtor name Move4All, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ACE Cash Express,                                              PayDay/Cash             Disputed                                                                            $2,576.09
 Inc.                                                           Advance Loans
 1231 Greenway
 Drive
 Suite 600
 Irving, TX 75038
 Allison                                                        Breach of               Disputed                                                                            $6,131.72
 Houghton-Green                                                 Contract Lawsuit
 c/o The Orlando                                                Pending
 Law Group PL
 12301 Lake
 Underhill Rd.
 Suite 213
 Orlando, FL 32828
 Amscot Financial                                               Returned Check          Disputed                                                                            $3,176.93
 Services                                                       Fees
 P.O. Box 25137
 Tampa, FL
 33622-5137
 AT&T                                                           Cell Phone                                                                                                    $816.50
 P.O. Box 105262                                                Service Fee
 Atlanta, GA
 30348-5262
 Avery Pollock                                                  Alleged Unpaid          Unliquidated                                                                        $2,589.65
 c/o Jeremiah J.                                                Wages/Fair Labor        Disputed
 Talbott, PA                                                    Standards Act
 900 East Moreno                                                Violations
 Street
 Pensacola, FL 32503
 Cassandra Pagan                                                Wage & Hour             Unliquidated                                                                        $5,000.00
 405 Beth Dr.                                                   Claim                   Disputed
 Sanford, FL 32771
 CERTEGY                                                        Unpaid Check            Disputed                                                                            $2,361.69
 11601 Roosevelt                                                Processing Fees
 Blvd.
 Saint Petersburg, FL
 33716


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Move4All, Inc.                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Chase                                                          Business Credit                                                                                               $451.47
 Mail Code OH1-1272                                             Card
 340 S. Cleveland
 Ave.
 Bldg. 370
 Westerville, OH
 43081
 Chase                                                          Business Credit                                                                                             $3,487.50
 Mail Code OH1-1272                                             Card
 340 S. Cleveland
 Ave.
 Bldg. 370
 Westerville, OH
 43081
 Chris Lapi Moving                                              Vendor Debt             Disputed                                                                            $1,614.76
 Supplies
 2950 N. Andrews
 Ave Ext.
 Suite 100
 Pompano Beach, FL
 33064
 Courtney White                                                 Alleged Unpaid          Unliquidated                                                                      $15,872.52
 c/o Trenton H.                                                 Wages/Fair Labor        Disputed
 Cotney                                                         Standards Act
 3110 Cherry Palm                                               Violations
 Drive
 Suite 290
 Tampa, FL 33619
 Elavon Inc                                                     Merchant Fees           Disputed                                                                              $600.00
 Two Concourse
 Pkwy, Ste 800
 Atlanta, GA 30328
 First Collection                                               Advertising             Disputed                                                                              $528.86
 Services                                                       Collections
 P.O. Box 3564
 Little Rock, AR
 72203-3564
 FMS Inc.                                                       Returned Check          Disputed                                                                            $1,306.32
 P.O. Box 707600                                                Fee
 Tulsa, OK
 74170-7600
 IberiaBank                                                     Account Overdraft Disputed                                                                                  $6,560.06
 200 West Congress
 Street
 Lafayette, LA 70501
 Internal Revenue                                               Tax Debt                                                                                                    $8,305.42
 Service
 PO Box 7346
 Philadelphia, PA
 19101-7346




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Move4All, Inc.                                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Merchant Advance,                                              Merchant Cash           Disputed                                                                          $14,864.51
 LLC                                                            Advance
 c/o Empire
 Recovery Services
 1430 Broadway
 Suite 402
 New York, NY 10018
 Revenue Systems,                                               Insurance                                                                                                   $2,111.23
 Inc.                                                           Collections
 P.O. Box 15257
 Clearwater, FL
 33766-5257
 Square Capital LLC                                             Merchant Cash           Disputed                                                                          $36,091.66
 Attn: Capital                                                  Advance
 Servicing
 29053 Network
 Place
 Chicago, IL 60673
 Verizon                                                        Cellular Service        Disputed                                                                            $1,371.72
 500 Technology Dr.                                             Cancellation Fee
 Suite 900
 Weldon Spring, MO
 63304




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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Move4All, Inc.                        Cassandra Pagan                         Elavon Inc
535 Cypress Tree Ct.                  405 Beth Dr.                            Two Concourse Pkwy, Ste 800
Orlando, FL 32825                     Sanford, FL 32771                       Atlanta, GA 30328




Aldo G. Bartolone                     Celtic Bank                             Fairwinds Credit Union
Bartolone Law, PLLC                   268 South State Street                  3087 N. Alafaya Trail
1030 N. Orange Avenue                 Suite 300                               Orlando, FL 32826
Suite 300                             Salt Lake City, UT 84111
Orlando, FL 32801

ACE Cash Express, Inc.                CERTEGY                                 First Collection Services
1231 Greenway Drive                   11601 Roosevelt Blvd.                   P.O. Box 3564
Suite 600                             Saint Petersburg, FL 33716              Little Rock, AR 72203-3564
Irving, TX 75038



Allison Houghton-Green                Certegy Check Services, Inc.            FMS Inc.
c/o The Orlando Law Group PL          P.O. Box 30031                          P.O. Box 707600
12301 Lake Underhill Rd.              Tampa, FL 33630-3031                    Tulsa, OK 74170-7600
Suite 213
Orlando, FL 32828

Amscot Financial Services             Chase                                   IberiaBank
P.O. Box 25137                        Mail Code OH1-1272                      200 West Congress Street
Tampa, FL 33622-5137                  340 S. Cleveland Ave.                   Lafayette, LA 70501
                                      Bldg. 370
                                      Westerville, OH 43081

Amscot Financial, Inc.                Chris Lapi Moving Supplies              Internal Revenue Service
600 N. Westshore Blvd.                2950 N. Andrews Ave Ext.                PO Box 7346
Suite 1200                            Suite 100                               Philadelphia, PA 19101-7346
Tampa, FL 33609                       Pompano Beach, FL 33064



AT&T                                  Courtney White                          JSD Management
P.O. Box 105262                       c/o Trenton H. Cotney                   1283 College Park Drive
Atlanta, GA 30348-5262                3110 Cherry Palm Drive                  Dover, DE 19904
                                      Suite 290
                                      Tampa, FL 33619

Audit Systems Incorporated            Dolney Law, PLLC                        Merchant Advance, LLC
3696 Ulmerton Road                    919 Lake Baldwin Lane                   c/o Empire Recovery Services
Suite 200                             Suite A                                 1430 Broadway
Clearwater, FL 33762                  Orlando, FL 32814                       Suite 402
                                                                              New York, NY 10018

Avery Pollock                         DSK Law                                 Real Property Specialists
c/o Jeremiah J. Talbott, PA           P.O. Box 87                             2345 W. Sand Lake Rd.
900 East Moreno Street                Orlando, FL 32802-0087                  Suite 100
Pensacola, FL 32503                                                           Orlando, FL 32809
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Revenue Systems, Inc.                    Zelda Johnson
P.O. Box 15257                           1751 Balsam Ave.
Clearwater, FL 33766-5257                Kissimmee, FL 34758




Square Capital LLC
Attn: Capital Servicing
29053 Network Place
Chicago, IL 60673



Square Inc.
1455 Market Street
Suite 600
San Francisco, CA 94103



Steven Zakharyayev, Esq.
1430 Broadway
Suite 402
New York, NY 10018



Thryv/DexYP
2200 West Airfield Drive
Grapevine, TX 76051




TRS Recovery Services, Inc.
P.O. Box 674169
Marietta, GA 30006




TRS Recovery Services, Inc.
1600 Terrell Mill Road
Marietta, GA 30067




Verizon
500 Technology Dr.
Suite 900
Weldon Spring, MO 63304



Verizon Connect Fleet USA
P.O. Box 347472
Pittsburgh, PA 15251-4472
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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Move4All, Inc.                                                                               Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Move4All, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 19, 2019                                                   /s/ Aldo G. Bartolone
 Date                                                                Aldo G. Bartolone 173134
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Move4All, Inc.
                                                                     Bartolone Law, PLLC
                                                                     1030 N. Orange Avenue
                                                                     Suite 300
                                                                     Orlando, FL 32801
                                                                     (407) 294-4440 Fax:(407) 287-5544
                                                                     aldo@bartolonelaw.com




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